      Case:1:23-cr-00135-RP
      Case  24-50982    Document: 36-1 196
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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
LYLE W. CAYCE                                                    TEL. 504-310-7700
CLERK                                                         600 S. MAESTRI PLACE,
                                                                      Suite 115
                                                             NEW ORLEANS, LA 70130

                                May 08, 2025
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 24-50982      USA v. Youngblood
                        USDC No. 1:23-CR-135-1

Enclosed is an order entered in this case.


                                   Sincerely,
                                   LYLE W. CAYCE, Clerk

                                   By: _________________________
                                   Casey A. Sullivan, Deputy Clerk
                                   504-310-7642
Mr. Philip Devlin
Ms. Jessica Graf
Mr. Zachary Carl Richter
Mr. Alan Winograd
Mr. Saint Jovite Youngblood
Case:1:23-cr-00135-RP
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                                             Date Filed: 05/08/2025
                                                         Page 2 of 3




         United States Court of Appeals
              for the Fifth Circuit
                              ____________

                               No. 24-50982
                              ____________

United States of America,

                                                          Plaintiff—Appellee,

                                    versus

Saint Jovite Youngblood,

                                         Defendant—Appellant.
                ______________________________

                Appeal from the United States District Court
                     for the Western District of Texas
                         USDC No. 1:23-CR-135-1
                ______________________________

ORDER:
       Alan Winograd, the attorney appointed to represent Saint Jovite
Youngblood in this direct criminal appeal, moves to withdraw as counsel and
requests the appointment of substitute counsel, stating that communication
has broken down to such an extent that Winograd is unable to effectively
represent Youngblood. In a motion filed in district court, Youngblood
concurred and requested the appointment of new counsel. No briefs have
been filed in this appeal.
       Appointed counsel may be relieved “upon a showing that there is a
conflict of interest or other most pressing circumstances or that the interests
of justice otherwise require relief of counsel.” Fifth Circuit Plan
Case:1:23-cr-00135-RP
Case  24-50982    Document: 36-2 196
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                                 No. 24-50982


Under the Criminal Justice Act § 5(B); see 18 U.S.C. § 3006A(c).
Under the Criminal Justice Act, “the court may, in the interests of justice,
substitute one appointed counsel for another at any stage of the
proceedings.” 18 U.S.C. § 3006A(c).
      In light of the facts set out in counsel’s motion, the interests of justice
appear to require relief of counsel in this case. Accordingly, the motion to
withdraw is GRANTED, and IT IS ORDERED that substitute counsel
shall be appointed to represent Youngblood.
      Entered for the Court:


                                           /s Adriana Dieringer
                                           Adriana Dieringer
                                           Deputy Clerk




                                       2
